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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                   Chapter 11

    OFS INTERNATIONAL LLC, et al.,1                          Case No. 21-31784 (DRJ)

                             Debtors.                        (Jointly Administered)



              WORLD EQUITY GROUP, INC.’S EXHIBIT AND WITNESS LIST
          FOR HEARING ON ITS EMERGENCY MOTION TO ALLOW LATE FILED
                PROOF OF CLAIM PURSUANT TO FEDERAL RULES OF
                 BANKRUPTCY PROCEDURE 3003(c)(3) AND 9006(b)(1)

             World Equity Group, Inc. (“WEG”) files this Exhibit and Witness List for the hearing to

be held on October 26, 2021, at 3:00 p.m. in Courtroom 400 of the United States Courthouse, 515

Rusk Street, Houston, Texas 77002 (the “Hearing”).

                                               EXHIBITS

    NO.       Description                    Mark Offer    Object    Admit    With-    Dispositio
                                                                              draw     n after
                                                                                       Trial

     1.       Northview Advisors LLC
              Investment Banking
              Engagement Letter Dated
              March 23, 2020 (Debtors’
              Ex. 2, Doc. No. 339)
     2.       Affidavit      of       Mark
              Lishchynsky (Attached to
              WEG’s Motion, Doc. No.
              322)
     3.       October 6, 2021 email
              exchange between R. Orr
              and J. Schroeder (redacted
              for attorney privilege)

1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s
federal tax identification number, are as follows: OFS International, LLC (3527); Threading and
Precision Manufacturing LLC (8899): OFSI Holding, LLC (3419).


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 NO.    Description                      Mark Offer       Object   Admit    With-   Dispositio
                                                                            draw    n after
                                                                                    Trial

  4.    October 19, 2021 email
        communication           from
        Debtors’ Counsel
  5.    Any pleadings, reports,
        exhibits,         transcripts,
        proposed orders, Court
        orders, or other documents
        filed in the above-captioned
        bankruptcy case.
  6.    Any exhibit introduced by
        any other party.
  7.    Rebuttal or impeachment
        exhibits as necessary.

                                           WITNESSES

       WEG may call the following witnesses at the Hearing:

       1.     Alexei Ratnikov, Chief Financial Officer for OFSI.

       2.     Rebuttal witnesses as necessary.

       3.     Any witness listed by any other party.

       WEG reserves its right to amend or supplement this Exhibit and Witness List as necessary

in advance of the Hearing.

DATED:        October 27, 2021
              Houston, Texas

                                             Respectfully submitted,

                                             HENNEMAN RAU KIRKLIN & SMITH LLP

                                             By:      /s/ Allyson S. Johnson
                                                     Matthew B. Henneman
                                                     Texas State Bar No. 00790865
                                                     mhenneman@hrkslaw.com
                                                     Allyson S. Johnson
                                                     Texas State Bar No. 24113379
                                                     ajohnson@hrkslaw.com


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                                                    815 Walker Street, Suite 1440
                                                    Houston, Texas 77002
                                                    Phone: 713-955-6030
                                                    Fax: 713-955-6141

                                             ATTORNEYS FOR MOVANT
                                             WORLD EQUITY GROUP, INC.




                                CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of October, 2021, the above and foregoing document
was filed electronically using CM/ECF and that a true and correct copy of the foregoing was served
to Debtors’ counsel and all parties participating in the CM/ECF system in this manner.


                                                      /s/ Allyson S. Johnson
                                                      Allyson S. Johnson




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From:             Matt Henneman
To:               Allyson Johnson
Subject:
Date:             Thursday, October 21, 2021 12:00:07 PM




Matt Henneman
mhenneman@hrkslaw.com
713-955-6110


From:
Sent: Thursday, October 21, 2021 11:52 AM
To: Matt Henneman <mhenneman@hrkslaw.com>
Subject:




Begin forwarded message:

       From: John Lindquist <jlindquist@northview-advisors.com>
       Date: October 21, 2021 at 11:30:19 AM CDT
       To: Tim Woods <twoods@weg1.com>
       Subject: [EXTERNAL] FW: OFSI

       ﻿


       John Lindquist
       Branch Manager - Principal
       NorthView Advisors LLC
       Office of World Equity Group, Inc.
       Austin, TX 78737
       (847) 342-1700 ext 280
       (512)599-1766 (M)
       www.northview-advisors.com
       https://worldequitygroup.com




       From: JT Schroeder <jts@northview-advisors.com>
       Sent: Tuesday, October 19, 2021 8:49 AM


                                                  EXHIBIT 3
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To: John Lindquist <jlindquist@northview-advisors.com>
Cc: Paul Gorski <pgorski@northview-advisors.com>
Subject: FW: OFSI




From: Robert Orr <rorr@sandtoncapital.com>
Date: Wednesday, October 6, 2021 at 4:27 PM
To: JT Schroeder <jts@northview-advisors.com>
Subject: RE: OFSI


https://petition.substack.com/p/ofsinternational

The debtors have locked in $16.5mm in post-petition financing from Sandton
Capital, including a $12.5mm DIP ABL facility and a $4mm DIP term loan
facility. The DIP facilities include a rollup of Sandton Capital’s $12.5mm pre-
petition ABL facility, which before filing, was secured by all of the debtor’s
property except their real property.

From: JT Schroeder <jts@northview-advisors.com>
Sent: Wednesday, October 6, 2021 3:55 PM
To: Robert Orr <rorr@sandtoncapital.com>
Subject: Re: OFSI

Fun stuff, hate those deals. Had that last year during Christmas/New Years week. Sucks!
What was the transaction size?


From: Robert Orr <rorr@sandtoncapital.com>
Date: Wednesday, October 6, 2021 at 3:32 PM
To: JT Schroeder <jts@northview-advisors.com>
Subject: RE: OFSI

Memorial Day, which was fun, because it blew up my entire Memorial Day Weekend.


From: JT Schroeder <jts@northview-advisors.com>
Sent: Wednesday, October 6, 2021 3:25 PM
To: Robert Orr <rorr@sandtoncapital.com>
Subject: OFSI

Hey bud,

Great catching up with you today. Question, when dd you all close the deal with OFSI?
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JT Schroeder
Managing Director
Northview Advisors
770-826-5048
jts@northview-advisors.com

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455e-8b3d-44553cdc6113
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